     Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 1 of 39
                                                                           1


 1                      UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
 2                         SAN FRANCISCO DIVISION

 3
       UNITED STATES OF AMERICA,
 4
                  PLAINTIFF,                 CASE NO.     CR-16-00166-RS
 5
           VS.                               SAN FRANCISCO, CALIFORNIA
 6
       ISLAM SAID NATSHEH,                   DECEMBER 13, 2016
 7
                  DEFENDANT.                 PAGES 1 - 39
 8

 9

10                       TRANSCRIPT OF PROCEEDINGS
                    BEFORE THE HONORABLE RICHARD SEEBORG
11                     UNITED STATES DISTRICT JUDGE

12
                              A-P-P-E-A-R-A-N-C-E-S
13

14     FOR THE PLAINTIFF:       OFFICE OF THE UNITED STATES ATTORNEY
                                BY:   ELISE BECKER
15                              450 GOLDEN GATE AVENUE, 11TH FLOOR
                                SAN FRANCISCO, CALIFORNIA 94102
16

17     FOR THE DEFENDANT:       OFFICE OF THE FEDERAL PUBLIC DEFENDER
                                BY:   CANDIS LEA MITCHELL
18                              459 GOLDEN GATE AVENUE, ROOM 19-6884
                                SAN FRANCISCO, CALIFORNIA 94102
19
        U.S. PROBATION:         JILL SPITALIERI
20
       OFFICIAL COURT REPORTER:       IRENE L. RODRIGUEZ, CSR, RMR, CRR
21                                    CERTIFICATE NUMBER 8074

22
          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY,
23   TRANSCRIPT PRODUCED WITH COMPUTER.

24

25



                          UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 2 of 39
                                                                                      2


           1   SAN JOSE, CALIFORNIA                             DECEMBER 13, 2016

           2                            P R O C E E D I N G S

02:55PM    3         (COURT CONVENED AT 2:55 P.M.8)

02:55PM    4               THE CLERK:    CALLING CASE CR-16-166, UNITED STATES

02:55PM    5   VERSUS ISLAM SAID NATSHEH.

02:55PM    6               MS. BECKER:    ELISE BECKER FOR THE GOVERNMENT.     GOOD

02:55PM    7   AFTERNOON, YOUR HONOR.

02:55PM    8               THE COURT:    GOOD AFTERNOON, MS. BECKER.

02:55PM    9               MS. MITCHELL:    GOOD AFTERNOON, YOUR HONOR.

02:55PM   10   CANDICE MITCHELL FROM THE FEDERAL PUBLIC DEFENDER'S OFFICE ON

02:56PM   11   BEHALF OF MR. NATSHEH WHO IS PRESENT BEFORE THE COURT.

02:56PM   12               THE COURT:    GOOD AFTERNOON.    THIS IS THE TIME AND

02:56PM   13   DATE SET FOR SENTENCING IN THIS MATTER.

02:56PM   14         HAVE COUNSEL HAD THE OPPORTUNITY TO REVIEW THE PRESENTENCE

02:56PM   15   REPORT?

02:56PM   16               MS. BECKER:    YES, YOUR HONOR.

02:56PM   17               THE COURT:    AND, MS. MITCHELL, HAVE YOU HAD THE

02:56PM   18   OPPORTUNITY TO DISCUSS IT WITH MR. NATSHEH?

02:56PM   19               MS. MITCHELL:    YES, YOUR HONOR.

02:56PM   20               THE COURT:    THERE WAS ONE OBJECTION THAT WAS NOTED

02:56PM   21   IN THE PRESENTENCE REPORT TO CERTAIN LANGUAGE THAT HAD BEEN

02:56PM   22   ASCRIBED TO THE DEFENDANT.        THAT APPEARED TO BE THE ONLY ISSUE.

02:56PM   23         IS THAT THE ONLY ISSUE THAT IS REQUIRING RESOLUTION?

02:56PM   24               MS. MITCHELL:    YES, YOUR HONOR.

02:56PM   25               THE COURT:    OKAY.    I DID REVIEW THE OBJECTION, AND I



                                  UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 3 of 39
                                                                                   3


02:56PM    1   REVIEWED THE PROBATION OFFICER'S RESPONSE.

02:56PM    2         ANYTHING FURTHER YOU WANT TO SAY?

02:56PM    3               MS. MITCHELL:    NO, YOUR HONOR.

02:56PM    4               THE COURT:   ALL RIGHT.   I HAVE REVIEWED IT.     I THINK

02:56PM    5   THOSE STATEMENTS ARE SET FORTH BY WAY OF BACKGROUND

02:56PM    6   INFORMATION, AND SO I WILL OVERRULE THE OBJECTION.

02:56PM    7         I -- JUST SO IT'S CLEAR, I HAVE REVIEWED THE PRESENTENCE

02:57PM    8   REPORT, AND I REVIEWED THE OPEN PLEA APPLICATION, AND I'VE

02:57PM    9   REVIEWED THE GOVERNMENT'S SENTENCING MEMORANDUM THAT INCLUDES

02:57PM   10   SOME MATERIAL FROM THE CASE IN THE DISTRICT OF MINNESOTA WHICH

02:57PM   11   HAS SOME COMPARABLES AND THEN ALSO THE GOVERNMENT'S REPLY

02:57PM   12   BRIEF, I REVIEWED THE DEFENDANT'S MEMORANDUM, INCLUDING LETTERS

02:57PM   13   FROM MR. NATSHEH'S YOUNGER SISTER, FATHER, FRIENDS, COWORKER,

02:57PM   14   CLERICAL INDIVIDUAL, AND AUNT AND UNCLE.

02:57PM   15         OUR STARTING POINT IS ALWAYS THE ADVISORY SENTENCING

02:57PM   16   GUIDELINES WHICH AS A RESULT OF THE TERRORIST ENHANCEMENT

02:57PM   17   RESULTS IN A GUIDELINE CALCULATION AS I THINK IS CORRECTLY SET

02:57PM   18   FORTH IN THE PRESENTENCE REPORT OF A TOTAL OFFENSE LEVEL OF 37

02:57PM   19   AND A CRIMINAL HISTORY CATEGORY OF 6, AND THAT'S THE RESULT OF

02:57PM   20   THE ENHANCEMENT BECAUSE OTHERWISE THERE'S NO CRIMINAL HISTORY.

02:57PM   21         THAT WOULD YIELD AN ADVISORY SENTENCING GUIDELINE RANGE

02:57PM   22   OF 360 MONTHS TO LIFE.      THE STATUTORY MAXIMUM UNDER THE

02:58PM   23   STATUTE, AS I UNDERSTAND IT, IS ON THE ONE COUNT INFORMATION

02:58PM   24   THAT IS INVOLVED HERE IS A 20-YEAR MAXIMUM.        SO THAT IS THE

02:58PM   25   MAXIMUM PENALTY THAT COULD BE IMPOSED IN THIS INSTANCE.



                                  UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 4 of 39
                                                                                   4


02:58PM    1         THE PROBATION DEPARTMENT IN THEIR REPORT RECOMMENDS THE

02:58PM    2   STATUTORY MAXIMUM.    THE GOVERNMENT RECOMMENDS A DOWNWARD

02:58PM    3   VARIANCE TO 15 YEARS WITH A 15-YEAR TERM OF SUPERVISED RELEASE,

02:58PM    4   AND THE DEFENSE IS ARGUING FOR A SENTENCE OF 48 MONTHS INVOKING

02:58PM    5   A CASE THAT THEY POINT ME TO IS A COMPARABLE.

02:58PM    6         MS. BECKER?

02:58PM    7               MS. BECKER:   YOUR HONOR, THE GOVERNMENT HAS MADE A

02:58PM    8   RECOMMENDATION THAT IS SLIGHTLY BELOW THE STATUTORY MAXIMUM FOR

02:58PM    9   SEVERAL REASONS.

02:58PM   10         OBVIOUSLY, AS THE COURT HAS INDICATED, THE STARTING POINT

02:58PM   11   IS ALMOST A NONSTARTER BECAUSE THE GUIDELINES ARE ABOVE THE

02:58PM   12   STATUTORY MAXIMUM, BUT IF WE WERE TO LOOK AT THE CASE AND AS WE

02:58PM   13   MUST AS A 20-YEAR CEILING TO IT, THE QUESTION IS WHERE DOES THE

02:59PM   14   CASE FALL WITHIN THAT RANGE?

02:59PM   15         THE GOVERNMENT HAS PROVIDED SOME BACKGROUND INFORMATION TO

02:59PM   16   THE COURT RELATING TO CASES ACROSS THE NATION.      OBVIOUSLY THE

02:59PM   17   FACTS ARE ALWAYS A LITTLE BIT DIFFERENT.      SOME INVOLVE MORE

02:59PM   18   PREPARATION FOR COMBAT OR FOR TRAVEL OR FOR FUNDING.

02:59PM   19               THE COURT:    WELL, ISN'T IT FAIR TO SAY THAT THIS ONE

02:59PM   20   INVOLVES THE LOWEST END OF ALL OF THOSE FACTORS?      THIS INVOLVES

02:59PM   21   NO RECRUITMENT, NO MONEY BEING ADVANCED, NO VIOLENCE, NO

02:59PM   22   ACTIVITY BEYOND POST DATES, WHICH ARE OFFENSIVE NO DOUBT ABOUT

02:59PM   23   IT, AND THEN APPREHENSION AT THE AIRPORT.

02:59PM   24         HE'S VERY FORTUNATE HE WAS APPREHENDED BECAUSE WE WILL

02:59PM   25   NEVER KNOW WHAT MIGHT HAVE HAPPENED AND PART OF YOUR ARGUMENT,



                                   UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 5 of 39
                                                                                   5


02:59PM    1   WHICH I THINK IS A FAIR ONE, IS THAT HAD MR. NATSHEH MADE IT TO

02:59PM    2   SYRIA AND THEN FURTHER RADICALIZED AND BEING A CITIZEN AND COME

02:59PM    3   BACK, WE DON'T KNOW WHAT WOULD HAVE HAPPENED.       HE MIGHT HAVE

02:59PM    4   BECOME DISSOLUTIONED.

03:00PM    5         HOWEVER, HE ALSO MIGHT HAVE COME BACK AND BECOME A DANGER

03:00PM    6   TO THE UNITED STATES.     SO I UNDERSTAND THE ARGUMENT.

03:00PM    7         BUT IN TERMS OF LOOKING AT ALL THE COMPARABLES, I DON'T --

03:00PM    8   YOU POINT OUT THESE COMPARABLES HAVE DIFFERENT FACTORS.         I

03:00PM    9   THINK THIS ONE HAS ZERO FACTORS BEYOND THE ABSOLUTE MOST BASIC

03:00PM   10   UNLESS I MISREAD.

03:00PM   11               MS. BECKER:   YOUR HONOR, THE GOVERNMENT WOULD

03:00PM   12   RESPECTFULLY SUBMIT THAT THERE ARE OTHER FACTORS AT PLAY HERE

03:00PM   13   AND THAT HE DOES NOT POSE SERIOUS THREAT ON ANY OF THOSE

03:00PM   14   GROUNDS.

03:00PM   15         SO WHILE THE GOVERNMENT HAS NOT PRESENTED ANY EVIDENCE TO

03:00PM   16   THE COURT THAT HE WAS OBTAINING MILITARY TRAINING IN THE UNITED

03:00PM   17   STATES, THAT HE HAD ATTEMPTED TO PURCHASE ANY WEAPONS HERE, AS

03:00PM   18   THE PSR REFLECTS, THERE WAS SOME DISCUSSION ABOUT WHETHER OR

03:00PM   19   NOT AN ACT SHOULD BE COMMITTED IN THE UNITED STATES AND IN

03:00PM   20   ADDITION THERE WAS --

03:00PM   21               THE COURT:    I'M NOT -- I UNDERSTAND THAT, BUT I

03:00PM   22   GUESS MY POINT WAS THAT WHEN I'M LOOKING AT THE COMPARABLES

03:00PM   23   THAT BOTH SIDES ARE POINTING ME TO, IT APPEARS FROM THE

03:00PM   24   SPECTRUM OF ACTIVITY THAT IN THE WORLD OF AN EFFORT TO JOIN A

03:01PM   25   TERRORIST ORGANIZATION OR PARTICIPATE WITH A TERRORIST



                                   UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 6 of 39
                                                                                   6


03:01PM    1   ORGANIZATION, THIS APPEARS TO BE ON ONE END OF THE SPECTRUM

03:01PM    2   THAT BEING WHEN I'M LOOKING AT THE COMPARABLES THE MINIMUM

03:01PM    3   AMOUNT OF ACTIVITY.      I JUST DON'T SEE ANY CASE IN WHICH THERE'S

03:01PM    4   LESS.

03:01PM    5         AND I'M NOT SUGGESTING THAT IN AND OF ITSELF THAT'S NOT

03:01PM    6   EXTRAORDINARILY SERIOUS, I DO, BUT ALL OF THE OTHER COMPARABLES

03:01PM    7   SEEM TO HAVE SOMETHING ELSE GOING ON, YOU KNOW, ADVANCING

03:01PM    8   MONEY, OR GOING TO TRAINING, OR, YOU KNOW, THAT KIND OF THING.

03:01PM    9               MS. BECKER:    I THINK THERE ARE SEVERAL CASES THAT

03:01PM   10   ARE SIMILARLY SITUATED AND THAT PEOPLE WERE ARRESTED AT THE

03:01PM   11   AIRPORT ATTEMPTING TO TRAVEL.     SOME HAD LIED ON THEIR PASSPORT

03:01PM   12   TO GET THEIR PASSPORT.      THERE MAY HAVE BEEN AN ADDITIONAL

03:01PM   13   CHARGE OF THAT NATURE.

03:01PM   14         BUT TO THE EXTENT THAT THIS DEFENDANT WAS ATTEMPTING TO

03:01PM   15   TRAVEL WITH A TRAVEL COMPANION WHERE HE HAD PURCHASED THE

03:01PM   16   TICKET FOR THIS OTHER PERSON WHO WAS A JUVENILE WHERE THEY HAD

03:01PM   17   HAD DISCUSSIONS ABOUT THE TRIP WHERE HE HAD COMMUNICATED WITH

03:02PM   18   OTHERS ABOUT TRAVELLING AND JOINING ISIL, I'D SUBMIT --

03:02PM   19               THE COURT:    THERE'S NO INDICATION THAT HE RECRUITED

03:02PM   20   THAT INDIVIDUAL, RIGHT?     IN FACT, THE INDIVIDUAL DIDN'T SHOW

03:02PM   21   UP, AS I UNDERSTAND IT, BUT HE'S COORDINATING THE TRAVEL BUT

03:02PM   22   HE'S -- YOU'RE NOT -- AT LEAST IT DIDN'T SEEM TO BE A

03:02PM   23   SUGGESTION THAT HE HAD ACTIVELY RECRUITED THIS MINOR

03:02PM   24   PARTICIPANT?

03:02PM   25               MS. BECKER:    HE WAS PAYING FOR HIS TICKET.



                                  UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 7 of 39
                                                                                     7


03:02PM    1               THE COURT:    OKAY.

03:02PM    2               MS. BECKER:   SO I'M NOT GOING SO FAR AS SAYING WHOSE

03:02PM    3   IDEA IT WAS TO TRAVEL.     CERTAINLY THE JUVENILE PRESUMABLY

03:02PM    4   INTENDED ON TRAVELLING AS WELL BUT WAS UNABLE TO COMPLETE HIS

03:02PM    5   TRAVEL WHICH IS WHY HE DIDN'T SHOW UP AT THE AIRPORT, BUT

03:02PM    6   NEVERTHELESS MR. NATSHEH IS THE ONE WHO PURCHASED THE TICKET

03:02PM    7   AND WHO TOOK ALL OF THE PREPARATORY STEPS HERE TO OBTAIN A

03:02PM    8   CREDIT CARD FOR THE PURPOSES OF BUYING THE TWO ROUND TRIP

03:02PM    9   TICKETS.

03:02PM   10         SO THE PLAN WAS HATCHED SEVERAL WEEKS AHEAD OF TIME.

03:02PM   11   THERE HAD BEEN COMMUNICATIONS OVER A PERIOD OF MONTHS.      OF

03:02PM   12   COURSE HE HAD BEEN COMMUNICATING WITH SOMEONE IN ANOTHER

03:02PM   13   COUNTRY ABOUT COMMITTING THE TRAVEL AS WELL.

03:03PM   14         SO WHILE IT'S ON ONE END OF THE SPECTRUM, IT'S THE

03:03PM   15   GOVERNMENT -- THE GOVERNMENT WOULD SUBMIT IT'S NOT AT THE

03:03PM   16   LOWEST LEVEL POSSIBLE AT THAT END WHERE LITERALLY YOU HAVE A

03:03PM   17   PERSON WHO DECIDED TO JOIN ISIL AND WENT TO THE AIRPORT AND

03:03PM   18   ATTEMPTED TO TRAVEL.

03:03PM   19         THERE WAS ONGOING DISCUSSION HERE OVER A PERIOD OF MONTHS.

03:03PM   20   THERE WAS, AGAIN, ATTEMPT TO TRAVEL WITH ANOTHER INDIVIDUAL,

03:03PM   21   PLANS THAT HAD BEEN MADE WITH A FEMALE IN ANOTHER COUNTRY.       SO

03:03PM   22   IT'S --

03:03PM   23               THE COURT:    YOU HAD INDICATED IN SOME OF THE RECORD

03:03PM   24   THAT THERE WAS AN ACTUAL DISCUSSION ABOUT ENGAGING IN ACTIVITY

03:03PM   25   IN THE UNITED STATES?     CAN YOU POINT THAT OUT TO ME OR DIRECT



                                  UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 8 of 39
                                                                                   8


03:03PM    1   ME TO THAT?

03:03PM    2               MS. BECKER:   IN PARAGRAPH 11 OF THE PSR, YOUR HONOR.

03:03PM    3               THE COURT:    OKAY.

03:03PM    4               MS. BECKER:   AND IT'S COMMUNICATION THAT -- THIS

03:04PM    5   PARAGRAPH ACTUALLY REFERS TO HIS POST-ARREST STATEMENT IN WHICH

03:04PM    6   HE MAKES REFERENCE TO IT.

03:04PM    7               THE COURT:    ADMITTED THAT ONE YEAR PRIOR HE THOUGHT

03:04PM    8   ABOUT CONDUCTING AN ATTACK INSIDE OF THE UNITED STATES, IS THAT

03:04PM    9   WHAT YOU'RE REFERRING?

03:04PM   10               MS. BECKER:   YES, YOUR HONOR.   THERE WAS A

03:04PM   11   DISCUSSION WITH THE MINOR WITH WHOM HE WAS GOING TO TRAVEL AS

03:04PM   12   WELL.

03:04PM   13               THE COURT:    OKAY.

03:04PM   14               MS. BECKER:   WHEN IT WAS DETERMINED THAT HE WAS

03:04PM   15   UNABLE TO TRAVEL, HE ASKED WHETHER OR NOT HE SHOULD DO

03:04PM   16   SOMETHING, THE MINOR SHOULD COMMIT SOMETHING IN THE UNITED

03:04PM   17   STATES AND THE MINOR -- I'M SORRY, AND MR. NATSHEH HAD SAID

03:04PM   18   DON'T DO ANYTHING HERE, JUST TRY TO TRAVEL TO SYRIA.

03:04PM   19               THE COURT:    UH-HUH.

03:04PM   20         LET ME SHIFT THE FOCUS FOR A MOMENT AND JUST ASK YOU ABOUT

03:04PM   21   ALONG THE LINES OF CRAFTING AN APPROPRIATE SENTENCE, THERE WAS

03:04PM   22   DISCUSSION IN YOUR PAPERS UNDERSTANDABLY ABOUT, YOU KNOW, THE

03:04PM   23   DANGER OF RADICALIZATION AND ONE OF THE THINGS ANY SENTENCE IS

03:04PM   24   TO BE DIRECTED TO IS TO AMELIORATE TO THE EXTENT THAT WE CAN

03:05PM   25   AND MINIMIZE THAT.



                                  UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 9 of 39
                                                                                   9


03:05PM    1         IS THERE ANY OR ARE THERE ANY PROGRAMS AT ALL OTHER THAN

03:05PM    2   SUPERVISED RELEASE, ANY SENTENCE OR CUSTODIAL PART OF THE

03:05PM    3   SENTENCE THAT IS DIRECTIVE TO THE BUREAU OF PRISONS, OR ANYONE

03:05PM    4   ELSE, DIRECTS TOWARDS THAT PROBLEM?

03:05PM    5         WE HAVE MENTAL HEALTH COUNSELLING, AND WE HAVE DRUG

03:05PM    6   COUNSELLING, SUBSTANCE COUNSELLING.     DO WE HAVE ANY OTHER KIND

03:05PM    7   OF COUNSELLING OR IS THIS GOING TO JUST BE A SITUATION OF THE

03:05PM    8   HOPE IS OVER A CERTAIN PERIOD OF TIME TO THE EXTENT THAT THERE

03:05PM    9   IS ANY RADICALIZATION IT WILL GO AWAY?

03:05PM   10               MS. BECKER:   NO.   HOPEFULLY THERE WILL BE A MORE

03:05PM   11   FOCUSSED APPROACH TO REHABILITATION BOTH WITHIN THE BUREAU OF

03:05PM   12   PRISONS AND UPON RELEASE.

03:05PM   13         AS THE COURT MAY REALIZE, THIS IS THE FIRST CASE TO BE

03:05PM   14   SENTENCED IN OUR DISTRICT AND SO, THEREFORE, I'M NOT FAMILIAR

03:05PM   15   WITH WHETHER --

03:05PM   16               THE COURT:    APPARENTLY 71 CASES, IF I READ SOME OF

03:05PM   17   THE MATERIALS CORRECTLY.     SO I WAS CURIOUS AND THOUGHT IT WAS

03:06PM   18   RELEVANT IF THERE ARE PROGRAMS FOR THIS SPECIFIC CONCERN OUT

03:06PM   19   THERE.

03:06PM   20               MS. BECKER:   SO MAIN JUSTICE HAS BEEN ENGAGED IN

03:06PM   21   COMMUNICATIONS WITH THE BUREAU OF PRISONS, AND THERE ARE

03:06PM   22   PROGRAMS THAT ARE IN PLACE IN OTHER DISTRICTS WHERE THEY HAVE

03:06PM   23   SEEN MORE CASES PROSECUTED AND CONVICTED AND SENTENCED.

03:06PM   24         SO, AGAIN, THIS IS --

03:06PM   25               THE COURT:    IS THIS ON THE SUPERVISED RELEASE PART



                                  UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 10 of 39
                                                                                      10


03:06PM    1    OR THE CUSTODIAL PART?

03:06PM    2               MS. BECKER:    BOTH IN THE BUREAU OF PRISONS AND ON

03:06PM    3    SUPERVISED RELEASE OR OUT TO THE EXTENT THAT SOMEBODY HAS

03:06PM    4    ACTUALLY NOT BEEN INCARCERATED YET OR SENTENCED YET.

03:06PM    5         SO, AGAIN, THIS IS NEW TO OUR DISTRICT.        IT IS SOMETHING

03:06PM    6    THAT WE WOULD HAVE TO DISCUSS IN TERMS OF SUPERVISED RELEASE

03:06PM    7    WHEN A PERSON RETURNS TO OUR DISTRICT IN TERMS OF HOW THAT

03:06PM    8    WOULD BE HANDLED.

03:06PM    9         BUT THERE ARE PROGRAMS IN PLACE IN AT LEAST A COUPLE OF

03:06PM   10    DISTRICTS WHERE THEY ARE ADDRESSING THE SITUATION.

03:06PM   11               THE COURT:    AND DO THE JUDGMENT AND COMMITMENT

03:06PM   12    ORDERS IN THOSE CASES HAVE ANY SOMEWHAT LIKE THE ANALOG AND THE

03:07PM   13    DRUG AREAS, RDAP AS WE ALL KNOW, IS THERE SOME PROGRAM THAT YOU

03:07PM   14    CAN -- THAT THE JUDGE CAN RECOMMEND THAT THE DEFENDANT

03:07PM   15    PARTICIPATE IN?

03:07PM   16               MS. BECKER:    YOUR HONOR, I'M NOT FAMILIAR WITH

03:07PM   17    WHETHER OR NOT IT'S A SPECIALLY NAMED PROGRAM.

03:07PM   18         WHAT I HAVE LEARNED ABOUT IT IS THAT IT'S SIMILAR TO OTHER

03:07PM   19    REHABILITATIVE PROGRAMS IN PLACE.     I DON'T KNOW WHETHER OR NOT

03:07PM   20    IT HAS BEEN CATEGORIZED IN AND OF ITSELF.      THAT CERTAINLY IS

03:07PM   21    SOMETHING THAT I CAN LOOK INTO, BUT I'M NOT AWARE OF IT AT THIS

03:07PM   22    TIME.

03:07PM   23               THE COURT:    DO YOU HAPPEN TO KNOW MS. SPITALIERI?

03:07PM   24               PROBATION OFFICER:    I DO NOT BELIEVE THERE'S ANY

03:07PM   25    SPECIFIED PROGRAMS FOR THAT.     I THINK THEY WOULD JUST USE IT AS



                                    UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 11 of 39
                                                                                    11


03:07PM    1    KIND OF A COMPONENT OF A MENTAL HEALTH PROGRAM AND JUST MAKE IT

03:07PM    2    MORE FOCUSSED.

03:07PM    3         AT LEAST ON THE SUPERVISED RELEASE SIDE, SINCE THIS IS

03:07PM    4    GOING TO BE ONE OF OUR FIRST CASES WITH THIS TYPE OF SITUATION,

03:07PM    5    IT WOULD PROBABLY BE CONTACTING THE OTHER DISTRICTS AND FINDING

03:07PM    6    OUT WHAT PROGRAMS THEY HAVE IN PLACE AND TRY TO IMPLEMENT

03:08PM    7    SOMETHING VERY SIMILAR TO THAT THROUGH THE MENTAL HEALTH

03:08PM    8    TREATMENT.

03:08PM    9                 MS. MITCHELL:   YOUR HONOR, I CAN SPEAK ON THIS ALSO.

03:08PM   10                 THE COURT:   GREAT.

03:08PM   11                 MS. MITCHELL:   SO THERE IS ACTUALLY NO PARTICULAR

03:08PM   12    PROGRAM CURRENTLY SET UP IN THE BUREAU OF PRISONS TO TREAT

03:08PM   13    INDIVIDUALS WHO ARE ACCUSED OF THIS AND IN THE PROCESS OF

03:08PM   14    INDIVIDUALS GOING THROUGH RADICALIZATION.

03:08PM   15         WHAT HAS HAPPENED RECENTLY IS THERE'S A DISTRICT COURT IN

03:08PM   16    MINNESOTA AND MINNEAPOLIS THAT HAS HAD A NUMBER OF CASES

03:08PM   17    RELATED TO SOMALIANS WHO HAVE BEEN RECRUITED TO PARTICIPATE IN

03:08PM   18    TERRORIST TYPE OF ACTIVITIES.      THE DISTRICT COURT JUDGE THERE

03:08PM   19    TOOK A PARTICULAR INTEREST IN THIS TOPIC AND WANTED TO TRY AND

03:08PM   20    NIP IT IN THE BUD BECAUSE THEY HAD SUCH A LARGE SOMALIAN

03:08PM   21    POPULATION THERE THAT HAD BEEN RELOCATED AS REFUGEES AND, IN

03:08PM   22    FACT, SPECIFICALLY THERE WERE A NUMBER OF INDIVIDUALS WHO WERE

03:08PM   23    REACHING OUT TO OTHER PEOPLE IN THE COMMUNITY TO JOIN INTO ISIL

03:08PM   24    OR SUPPORT THE ACTIVITIES THERE.

03:08PM   25         WHAT HAPPENED WAS THAT JUDGE REACHED OUT TO PROBATION AND



                                    UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 12 of 39
                                                                                    12


03:08PM    1    THE BUREAU OF PRISONS DISCOVERED THAT THERE WAS NO PARTICULAR

03:08PM    2    PROGRAM IN PLACE.    THEY ALSO REACHED OUT TO PRETRIAL.

03:08PM    3         THE JUDGE THERE THEN PASSED THE U.S. ATTORNEY AND FEDERAL

03:09PM    4    PUBLIC DEFENDER WHO WERE INVOLVED IN THOSE CASES.     THE FEDERAL

03:09PM    5    PUBLIC DEFENDER THERE IS MANNY ATWAL, AND I'VE SPOKEN WITH HER

03:09PM    6    AT LENGTH ABOUT WHAT IS GOING ON THERE.      SHE IS ACTUALLY A

03:09PM    7    CITIZEN IN THE U.K. AND WAS PERMITTED TO TRAVEL TO THE U.K. AND

03:09PM    8    WITH SPECIFIC DIRECTIVES FROM THE JUDGE THERE TO FIND OUT WHAT

03:09PM    9    THEY WERE DOING FOR THEIR RADICALIZATION PROGRAM THERE.

03:09PM   10         AS A RESULT OF THAT THEY'VE BROUGHT BACK SOME WORK THAT

03:09PM   11    THEY HAVE BEEN DOING THERE OR ESPECIALLY WITH PRETRIAL RELEASE

03:09PM   12    WITH INDIVIDUALS WHO WERE ACCUSED OF TERRORISM CASES THERE.      IT

03:09PM   13    HAS A SPECIFIC NAME FOR THE PROGRAM, AND IT SLIPS MY MIND RIGHT

03:09PM   14    NOW, BUT THEIR PROGRAM IS SPECIFICALLY DESIGNED SO THAT

03:09PM   15    INDIVIDUALS ON PRETRIAL RELEASE CAN START THE PROCESS OF

03:09PM   16    DERADICALIZATION AND THEY GO THROUGH A RATHER LENGTHY AND

03:09PM   17    SUBSTANTIAL PROCESS.

03:09PM   18         THE BUREAU OF PRISONS AND DEPARTMENT OF JUSTICE HAVE TAKEN

03:09PM   19    A LOOK AT THIS PROGRAM AND THEY'RE GOING TO TRY AND INCORPORATE

03:09PM   20    THE TRAINING THAT PRETRIAL HAS BEEN GIVING THERE AND DELIVER

03:09PM   21    THAT TO THE PROBATION OFFICERS NATIONWIDE.      HOWEVER, THAT HAS

03:10PM   22    NOT COME INTO PLACE.

03:10PM   23         SPECIFICALLY WHAT HAS HAPPENED IS THAT THE BUREAU -- THE

03:10PM   24    DEPARTMENT OF JUSTICE AND THE DISTRICT COURT JUDGE IN THAT

03:10PM   25    SITUATION HAVE REACHED OUT TO SOMEONE WHO HAS BEEN INVOLVED IN



                                    UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 13 of 39
                                                                                  13


03:10PM    1    DERADICALIZATION FOR A LONG PERIOD OF TIME IN THE U.K. AND

03:10PM    2    WHERE THEY ARE A LITTLE FURTHER ALONG THAN US ON THIS SITUATION

03:10PM    3    AND HE HAS GONE THROUGH THE PROCESS OF MEETING WITH INDIVIDUALS

03:10PM    4    WHO HAD A -- KIND OF A MATRIX FOR DETERMINING HOW RADICALIZED

03:10PM    5    THEY ARE AND THEN DETERMINES WHAT KIND OF PROCESS WOULD NEED TO

03:10PM    6    HAPPEN FOR DERADICALIZATION FOR THAT PERSON AND THEN ALSO WHAT

03:10PM    7    KINDS OF THERAPY THAT THEY CAN ENGAGE IN FOR PRETRIAL RELEASE

03:10PM    8    AND WHETHER OR NOT THAT WOULD BE APPROPRIATE.

03:10PM    9         MY UNDERSTANDING IS THAT THAT PERSON HAS STARTED TO TRAIN

03:10PM   10    THE PROBATION OFFICERS AND PRETRIAL OFFICERS BOTH IN

03:10PM   11    MINNEAPOLIS AND IN A FEW OTHER DISTRICTS WHERE THESE TYPES OF

03:10PM   12    CASES HAVE BEEN MORE PREVALENT, BUT TO MY KNOWLEDGE THE BUREAU

03:10PM   13    OF PRISONS HAS NO PROGRAM IN PLACE FOR ANY DERADICALIZATIONS

03:11PM   14    RIGHT NOW WHICH IS PART OF THE REASON WHY THE JUDGE THERE WAS

03:11PM   15    SPECIFICALLY LOOKING TO OUTSIDE SOURCES TO GET A PROGRAM

03:11PM   16    STARTED AND PROBATION AT THE CURRENT TIME DOES NOT HAVE A FULLY

03:11PM   17    FORMULATED PROGRAM BUT EVENTUALLY THEY WILL.

03:11PM   18               THE COURT:   OKAY.   THANK YOU.   YOU CAN SHIFT BACK

03:11PM   19    NOW TO WHATEVER ISSUES YOU WANT TO HIGHLIGHT FOR ME.

03:11PM   20               MS. MITCHELL:   SO I THINK WE'VE EXHAUSTIVELY

03:11PM   21    ATTEMPTED TO BRIEF EVERYTHING THAT WE THINK THE COURT SHOULD BE

03:11PM   22    AWARE OF IN THE CASE OF MR. NATSHEH, BUT WE WANT TO JUST

03:11PM   23    BRIEFLY TOUCH ON SOME OF THE ISSUES THAT THE COURT JUST BROUGHT

03:11PM   24    UP IN SPEAKING WITH THE U.S. ATTORNEY'S OFFICE IN THAT -- IN

03:11PM   25    COMPARISON WITH A LOT OF THE OTHER CASES.



                                   UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 14 of 39
                                                                                   14


03:11PM    1         WHAT THE COURT CAN SEE IS THAT MR. NATSHEH DOES NOT HAVE A

03:11PM    2    LOT OF THE AGGRAVATING FACTORS THAT WERE PRESENT IN A NUMBER OF

03:11PM    3    THE OTHER CASES.   I SPECIFICALLY BROUGHT UP THE CASE I THINK IT

03:11PM    4    WAS MS. CONNOLLY WHO RECEIVED THE 48-MONTH SENTENCE OUT OF

03:11PM    5    COLORADO WHO JOINED A U.S. ARMY PROGRAM AND SHE RECEIVED FIRST

03:12PM    6    AID TRAINING AND SHE HAD FIREARM TRAINING AND THE FBI MET WITH

03:12PM    7    HER MULTIPLE TIMES BEFORE SHE WAS ACTUALLY ARRESTED AT THE

03:12PM    8    AIRPORT AS A COMPARISON TO WHAT WAS GOING ON IN MR. NATSHEH'S

03:12PM    9    CASE.

03:12PM   10         AND THEN I WOULD ALSO DRAW THE COURT'S ATTENTION TO A

03:12PM   11    NUMBER OF OTHER CASES THAT I HAVE RECENTLY BECOME AWARE OF IN

03:12PM   12    SPEAKING FURTHER WITH MS. ATWAL IN MINNEAPOLIS.     HER TWO

03:12PM   13    CLIENTS INVOLVED IN THE CASES THAT THE JUDGE THERE HAD RECENTLY

03:12PM   14    BEEN SENTENCED.    ONE RECEIVED PROBATION.   ANOTHER CLIENT

03:12PM   15    RECEIVED A SENTENCE OF LESS THAN EIGHT YEARS OR TEN YEARS AND

03:12PM   16    ONE RECEIVED A SENTENCE OF I BELIEVE LESS THAN FOUR YEARS.

03:12PM   17         IN EACH OF THOSE CASES WHAT THE JUDGE BASICALLY NOTICED

03:12PM   18    WAS THAT TIME IN CUSTODY IS NOT GOING TO MAKE ANY DIFFERENCE

03:12PM   19    FOR ANY OF THESE INDIVIDUALS.    THERE ARE PROGRAMS THAT HELPED

03:12PM   20    WITH ANTI-RADICALIZATION.    THERE'S NOT -- IT'S A SITUATION

03:12PM   21    WHERE INDIVIDUALS WERE MAKING DECISIONS BASED OFF OF WHAT THEY

03:12PM   22    BELIEVED WAS SOMETHING THAT THEY WERE GOING TO DO AND IN A

03:13PM   23    LARGE PART FOR WHAT HE SAW WAS A HUMANITARIAN REASON.      THESE

03:13PM   24    WERE INDIVIDUALS WHO HAD DONE THINGS HERE IN THE UNITED STATES

03:13PM   25    WHO WERE SAYING THEMSELVES WHO WERE PREPARING TO UNDERTAKE



                                   UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 15 of 39
                                                                                 15


03:13PM    1    VIOLENT ACTIONS, BUT THEY HAD ALL BEEN RECRUITED TO ISIL, AS I

03:13PM    2    MENTIONED, PRE-2015 WHEN ISIL'S DIRECTIONS AND PROPAGANDA WERE

03:13PM    3    MORE DIRECTED TOWARDS A HUMANITARIAN BET.

03:13PM    4         YES, THEY POSTED PICTURES OF THEMSELVES WITH GUNS AND,

03:13PM    5    YES, THEY POSTED PICTURES OF THEMSELVES DOING CERTAIN THINGS

03:13PM    6    BUT THEY WERE DOING SO AS WE ARE FREEDOM FIGHTERS AND WE'RE

03:13PM    7    TRYING TO HELP OUR BROTHERS WITH FIGHTING ARMS IN SYRIA.

03:13PM    8               THE COURT:   BUT AS MS. BECKER DIRECTED ME TO, I

03:13PM    9    REALIZE THERE ARE SOME ASPECTS OF THE STATEMENT THAT INDICATES

03:13PM   10    MR. NATSHEH BACKED OFF FROM IT AND THEN ALSO ENCOURAGED THE

03:13PM   11    MINOR INDIVIDUAL WE DISCUSSED NOT TO ENGAGE IN ANY ACTIVITIES.

03:13PM   12         BUT AT ONE POINT HE CONSIDERED ENGAGING IN VIOLENT CONDUCT

03:14PM   13    IN THIS COUNTRY.

03:14PM   14               MS. MITCHELL:   AND THEN MADE THE CORRECT DECISION

03:14PM   15    NOT TO.

03:14PM   16               THE COURT:   WELL, TRUE.

03:14PM   17               MS. MITCHELL:   BUT THAT'S A SIGN OF -- HE

03:14PM   18    SPECIFICALLY TOLD THE JUVENILE DO NOT DO ANYTHING HERE IN THE

03:14PM   19    UNITED STATES.

03:14PM   20         AND --

03:14PM   21               THE COURT:   BUT TO SOME EXTENT TO YOUR POINT THAT

03:14PM   22    THE MOTIVATION HERE IS ENTIRELY FOCUSSED ON YOU SAID SOMETHING

03:14PM   23    TO THE EFFECT OF HUMANITARIAN ASPECTS OF THIS.     I DON'T THINK I

03:14PM   24    CAN CHARACTERIZE IT IN THAT FASHION.

03:14PM   25               MS. MITCHELL:   I WOULDN'T SAY WHOLLY BUT IT WAS --



                                   UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 16 of 39
                                                                                    16


03:14PM    1    THE PROPAGANDA THAT ISIL WAS DIRECTING TOWARDS INDIVIDUALS IN

03:14PM    2    AN ATTEMPT TO RECRUIT THEM WAS NOT AS AN EXPERT HAD NOTICED IN

03:14PM    3    2015, MID-2015, THE SHIFT IN WHAT THEY WERE DOING AND HOW THEY

03:14PM    4    PRESENTED THEMSELVES CHANGED.

03:14PM    5         ISIL CHANGED FROM A DIRECTIVE MORE TOWARDS -- AND THIS IS

03:14PM    6    DEEP INTO THE PROPAGANDA.      IT'S NOT THE SURFACE STUFF THAT WE

03:14PM    7    ALL SEE AND WE GET AGHAST AT.     IT IS THE CALL TO WE HAVE PEOPLE

03:15PM    8    HERE THAT WE SHOULD FEEL SOLIDARITY WITH AND WE'RE SEPARATING.

03:15PM    9    NO ONE IS DOING ANYTHING ABOUT IT, AND WE NEED TO BE THE

03:15PM   10    PEOPLE.

03:15PM   11                THE COURT:   NO.   I READ THROUGH THE EXTENSIVE

03:15PM   12    BACKGROUND THAT YOU'VE PROVIDED FOR ME.

03:15PM   13         YOU KNOW, THE ISSUE THAT I WAS DISCUSSING WITH MS. BECKER

03:15PM   14    THAT I'M MULLING OVER IS, AS I INDICATED BEFORE, AND I THINK

03:15PM   15    SHE DOESN'T DIRECTLY DISPUTE, MR. NATSHEH WAS APPREHENDED AT A

03:15PM   16    POINT WHERE VERY LITTLE IN TERMS OF ACTUAL EFFORT HAD TAKEN

03:15PM   17    PLACE.    SO IT WAS EARLY IN THE GAME, IF YOU WILL.

03:15PM   18                MS. MITCHELL:   YES, THAT IS CORRECT.

03:15PM   19                THE COURT:   THAT IS BOTH IN THE ONE SENSE FORTUNATE,

03:15PM   20    VERY FORTUNATE FOR HIM THAT HE WAS APPREHENDED IN MANY WAYS.

03:15PM   21         BUT THEN THE QUESTION IS, TO PUT IT QUITE BLUNTLY, HOW

03:15PM   22    MUCH CREDIT DOES HE GET FOR HAVING BEEN STOPPED EARLY IN THE

03:16PM   23    PROCESS?   HE DOES REPRESENT THE PROSPECT THAT HAD HE SUCCEEDED

03:16PM   24    IN GOING TO SYRIA, HE WAS, AS THE GOVERNMENT POINTS OUT, AN

03:16PM   25    AMERICAN CITIZEN, HAD THE RADICALIZATION GONE A BAD WAY, HE



                                   UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 17 of 39
                                                                                   17


03:16PM    1    COULD HAVE WELL RETURNED TO THE UNITED STATES AND POSED A

03:16PM    2    SIGNIFICANT DANGER.

03:16PM    3         SO, IN OTHER WORDS, YES, IN TERMS OF LOOKING AT SOME OF

03:16PM    4    THE COMPARABLES, HE'S IN THE GROUP THAT DIDN'T GET VERY FAR,

03:16PM    5    BUT SHOULDN'T I TAKE INTO ACCOUNT THE PROSPECT THAT HAD HE

03:16PM    6    GOTTEN AS FAR AS HE WANTED, HE COULD REPRESENT A VERY SERIOUS

03:16PM    7    DANGER TO THE UNITED STATES?

03:16PM    8                 MS. MITCHELL:   THE COURT CAN TAKE THAT INTO

03:16PM    9    CONSIDERATION, BUT THE COURT CAN ALSO TAKE INTO CONSIDERATION

03:16PM   10    THAT MR. NATSHEH COULD HAVE GOTTEN TO TURKEY AND DECIDED TO

03:16PM   11    COME BACK OR HE COULD HAVE GOTTEN TO SYRIA, THE BORDER, AND

03:16PM   12    DECIDED TO COME BACK.

03:16PM   13                 THE COURT:   SHOULD I MAKE ALL OF THE INFERENCES IN

03:16PM   14    HIS FAVOR?

03:16PM   15                 MS. MITCHELL:   I DON'T THINK THAT THE COURT HAS TO

03:16PM   16    MAKE ANY INFERENCES ONE WAY OR ANOTHER ABOUT HOW IT COULD HAVE

03:17PM   17    GONE WORSE OR IT COULD HAVE GONE BETTER.

03:17PM   18         FRANKLY, THE PROBLEM IS WITH THIS OFFENSE, HE COMMITTED --

03:17PM   19    THE MOMENT HE PURCHASED THE PLANE TICKET IS WHEN THE GOVERNMENT

03:17PM   20    ESSENTIALLY COULD HAVE ARRESTED HIM FOR IT AND ANYWHERE ALONG

03:17PM   21    THAT LINE MANY DIFFERENT THINGS COULD HAVE HAPPENED ONE WAY OR

03:17PM   22    ANOTHER.

03:17PM   23                 THE COURT:   TRUE.

03:17PM   24                 MS. MITCHELL:   MR. NATSHEH, HOWEVER, WAS STOPPED AT

03:17PM   25    A POINT WHERE ALL OF THE THINGS LEADING UP TO THE POINT WHERE



                                    UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 18 of 39
                                                                                  18


03:17PM    1    HE WAS STOPPED THE COURT CAN LOOK AT AS DEFINITIVE SIGNS THAT

03:17PM    2    THIS IS VERY LOW ON THE SCALE OF OTHER INDIVIDUALS WHO HAVE

03:17PM    3    TAKEN A MUCH GREATER PREPARATION AND INVOLVED OTHER PEOPLE AND

03:17PM    4    DONE FINANCIAL CONTRIBUTIONS, AND MANY OTHER THINGS THAT HE

03:17PM    5    HIMSELF NOT DONE.

03:17PM    6         WHAT THE COURT CAN ALSO TAKE INTO CONSIDERATION IS WHERE

03:17PM    7    HE IS AND WHAT IS MORE LIKELY TO HAPPEN TO HIM AFTER HE GETS

03:17PM    8    RELEASED.   HE'S STILL A VERY YOUNG MAN WHO HAS NOT EXHIBITED TO

03:17PM    9    MYSELF, I THINK TO THE GOVERNMENT, SIGNS THAT HE IS NOT A

03:18PM   10    PERSON WHO COULD BE A U.S. CITIZEN WITH NO DANGER TO ANYONE

03:18PM   11    ELSE.

03:18PM   12         HE IS NOT SO RADICALIZED THAT HE STRIKES FEAR WITH

03:18PM   13    EVERYTHING HE SAYS; THAT HE CANNOT AND WILL NOT BE A PERSON WHO

03:18PM   14    CAN CONTRIBUTE TO SOCIETY.     HE'S A 21-YEAR-OLD AND WHO ACTS

03:18PM   15    LIKE A 21-YEAR-OLD DOES AND WHO THINKS LIKE A 21-YEAR-OLD DOES.

03:18PM   16         HE HAS NOT HAD THE CHANCE YET TO REALLY TAKE A LOOK AT

03:18PM   17    WHERE HE WAS GOING IN HIS LIFE.     AND WHAT WAS GOING ON AND

03:18PM   18    REALLY THINK THROUGH WHAT WAS HAPPENING.

03:18PM   19         INSTEAD, HE GOT A CREDIT CARD.     HE DIDN'T SAVE UP MONEY

03:18PM   20    FOR MONTHS TO BE ABLE TO MAKE THIS TRIP.      HE HAD NO OTHER FUNDS

03:18PM   21    WITH HIM ASIDE FROM A CREDIT CARD THAT HE WAS GOING TO USE TO

03:18PM   22    MAKE THIS TRIP.   THIS IS NOT A WELL-THOUGHT-OUT PLAN OF A

03:18PM   23    PERSON WHO HAS BEEN THINKING ABOUT DOING THIS FOREVER AND

03:18PM   24    ACTUALLY TAKING STEPS TO DOING IT.

03:18PM   25         THIS IS A TEENAGER WHO IS SO DEPRESSED THAT HE SPENT A



                                    UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 19 of 39
                                                                                 19


03:19PM    1    WEEK IN HIS ROOM AND DIDN'T EAT OR DRINK AND HAD HIS PARENTS

03:19PM    2    CALLING FAMILY FRIENDS WHO THEN GOT ON THE PHONE WITH HIM WHILE

03:19PM    3    HE SOBBED AND HIM SAYING I'M SO DEPRESSED AND I CAN'T FIGURE

03:19PM    4    OUT WHAT TO DO WITH MY LIFE.

03:19PM    5                 THE COURT:   OF COURSE THE DILEMMA WE FACE IS THE

03:19PM    6    PROFILE IS PRECISELY A PROFILE OF SOMEONE WHO CAN BE QUITE

03:19PM    7    DANGEROUS.

03:19PM    8                 MS. MITCHELL:   AND IT IS ALSO THE PROFILE OF A

03:19PM    9    PERSON WHO IF GIVEN A CHANCE TO GROW UP AND GIVE THEM SOME

03:19PM   10    MATURITY AND THINK ABOUT THINGS AND WHO COULD COME OUT OF

03:19PM   11    CUSTODY AND BE PERFECTLY FINE.     AND THAT'S WHO I BELIEVE HE IS.

03:19PM   12         WHILE THE GOVERNMENT ATTEMPTS TO DISCOUNT SOME OF THE

03:19PM   13    FACTORS THAT WE'VE BROUGHT FORTH, THE STRONG FAMILY

03:19PM   14    INVOLVEMENT, I THINK IT'S VERY CLEAR THAT HAD ANY OF THE FAMILY

03:19PM   15    MEMBERS ACTUALLY KNOWN THAT HIS ACT OF GETTING ON THE PLANE,

03:19PM   16    HIS FATHER WHO HAD DEMONSTRATED SOME STRONG DISCIPLINE BEFORE

03:19PM   17    WOULD HAVE CONTINUED TO DO THAT AND DONE EVERYTHING IN HIS

03:19PM   18    POWER TO PREVENT HIM FROM DOING THAT.

03:19PM   19         THAT HE COOPERATED WITH LAW ENFORCEMENT WHILE THE

03:19PM   20    GOVERNMENT SAYS THAT THAT'S GREAT THAT HE DID THAT, I THINK

03:20PM   21    THAT THAT SHOWS THAT MR. NATSHEH IS APPROACHABLE, THAT HE'S

03:20PM   22    AMENABLE TO WORKING WITH OTHERS AND THAT HE WAS ATTEMPTING TO

03:20PM   23    TRY TO MAKE RIGHT WHAT HAPPENED.

03:20PM   24         THAT HE HAD BEEN SUFFERING FROM DEPRESSION FOR A VERY LONG

03:20PM   25    PERIOD OF TIME, AND THAT WAS DEMONSTRATED BY OTHER PEOPLE.



                                    UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 20 of 39
                                                                                   20


03:20PM    1    WHILE MR. NATSHEH DIDN'T HAVE LONG-TERM CONTACTS WITH DOCTORS,

03:20PM    2    HE DID HAVE VERY RECOGNIZABLE SIGNS THAT WERE VISIBLE TO

03:20PM    3    EVERYONE ELSE WHO COULD SAY THAT THIS IS A PERSON WHO WAS

03:20PM    4    DEPRESSED, AND THEY WERE TRYING TO GET HIM SOME ASSISTANCE.

03:20PM    5         IT IS VERY EASY TO SAY THAT IT IS A SCARY THING THAT HE

03:20PM    6    WAS GOING TO DO AND ISIL IS A VERY SCARY ORGANIZATION SO WE

03:20PM    7    SHOULD PUT HIM IN CUSTODY FOR A LONG TIME.

03:20PM    8         BUT FOR WHO HE IS AND THE STEPS THAT HE ACTUALLY TOOK IN

03:20PM    9    ANTICIPATION OF GETTING ON THE PLANE, I THINK THAT IT'S

03:20PM   10    APPARENT THAT FIRST A LOWER SENTENCE IS APPROPRIATE FOR HIM,

03:20PM   11    AND, IN FACT, THAT NOW THAT WE'RE GETTING AND STARTING TO LOOK

03:20PM   12    AT MORE OF THESE TYPES OF CASES WHERE THE GOVERNMENT IS

03:21PM   13    ACTUALLY BEING ABLE TO GO THROUGH AND DO THE PROSECUTION AND

03:21PM   14    INVOLVING THE SCIENCE, WHICH IS SOMETHING THAT HAS RECENTLY

03:21PM   15    STARTED HAPPENING WITH RADICALIZATION AND WHY PEOPLE BECOME

03:21PM   16    RADICALIZED, I THINK WE'RE ON A TREND OF SEEING SOME OF THESE

03:21PM   17    TYPES OF CASES WHERE WE START GETTING MORE DOCTORS AND MORE

03:21PM   18    PEOPLE INVOLVED WHERE WE CAN SAY THIS IS A PERSON WHO IS OF

03:21PM   19    CONCERN BECAUSE OF THE ACTS THAT THEY HAVE DONE AND IN THIS

03:21PM   20    CASE I DON'T SEE THAT WITH MR. NATSHEH.     I DON'T SEE THE NEED

03:21PM   21    TO PUT HIM AWAY FOR A LONG PERIOD.

03:21PM   22         FRANKLY, I THINK FOUR YEARS IS STILL A VERY SUBSTANTIAL

03:21PM   23    AMOUNT OF TIME FOR THIS OFFENSE, BUT IN COMPARISON TO THE OTHER

03:21PM   24    TYPES OF OFFENSES THAT ARE OUT THERE, THE OTHER SENTENCES THAT

03:21PM   25    ARE OUT THERE, I THOUGHT IT WAS A REASONABLE SENTENCE TO US.



                                   UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 21 of 39
                                                                                  21


03:21PM    1               THE COURT:    BEFORE I GOT TO MR. NATSHEH, MS. BECKER.

03:21PM    2               MS. BECKER:   THANK YOU, YOUR HONOR.    I WOULD LIKE TO

03:21PM    3    ADDRESS A FEW OF THE ISSUES THAT BOTH THE COURT AND

03:21PM    4    MS. MITCHELL RAISED.

03:21PM    5         WITH RESPECT TO PROPAGANDA, WHILE IT DOES SEEM CLEAR THAT

03:22PM    6    MR. NATSHEH DID ACCOMPLISH SOME PROPAGANDA, IT'S IMPORTANT TO

03:22PM    7    KNOW THE TYPE OF PROPAGANDA THAT HE WAS FOLLOWING INCLUDING, AS

03:22PM    8    PUT IN OUR PAPERS AND AS TERRIBLE AS IT IS TO REPEAT, THE

03:22PM    9    PROPAGANDA THAT HE WAS FOLLOWING AND REPOSTING AND SHARING WITH

03:22PM   10    OTHERS WAS THAT OF THAT CAGED JORDANIAN PILOT WHO WAS BURNED

03:22PM   11    ALIVE.   THAT'S THE PROPAGANDA HE WAS FOLLOWING, NOT A NIKE AD

03:22PM   12    WITH ISIL OR A SNICKERS AD WITH ISIL.     HE WAS INTERESTED IN THE

03:22PM   13    MOST BRUTAL OF PROPAGANDA.

03:22PM   14         I WOULD ALSO DISAGREE WITH THE IDEA THAT THE DEFENDANT WAS

03:22PM   15    APPREHENDED EARLY IN THE GAME.    THE GOVERNMENT'S POINT IS

03:22PM   16    ACTUALLY TO THE CONTRARY.    HE WAS APPREHENDED AT THE VERY END

03:22PM   17    OF THE GAME.   HE WAS ARRESTED AS HE WAS ABOUT TO BOARD HIS

03:22PM   18    PLANE.   THERE WAS NOTHING LEFT FOR HIM TO DO TO COMPLETE THE

03:22PM   19    ACT OTHER THAN TO GET THERE.

03:22PM   20         EVERY OTHER ASPECT OF MATERIAL SUPPORT WAS COMMITTED.      YOU

03:23PM   21    DON'T HAVE TO TRAIN IN THE UNITED STATES PRIOR TO LEAVING IN

03:23PM   22    ORDER TO COMMIT AN ACT OF TERRORISM ELSEWHERE.     YOU DON'T HAVE

03:23PM   23    TO KNOW THOSE COMBAT SKILLS.    HE WAS INTENDING ON FIGHTING

03:23PM   24    THERE REGARDLESS OF WHETHER OR NOT HE LEARNED HOW TO DO SO HERE

03:23PM   25    OR HE LEARNED HOW TO DO SO THERE.



                                   UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 22 of 39
                                                                                   22


03:23PM    1         SO HE WAS ACTUALLY ARRESTED AT THE VERY LAST STEP, NOT --

03:23PM    2    IT MAY SEEM --

03:23PM    3               THE COURT:    WELL, THAT'S TRUE, BUT THAT, TOO, FOR

03:23PM    4    PURPOSES OF COMPLETING THE OFFENSE, I DON'T DISAGREE WITH YOU

03:23PM    5    BUT IN TERMS OF ASSESSING THE RAMIFICATIONS OF -- THERE'S NO

03:23PM    6    DOUBT THAT HE COMMITTED WHAT HE NEEDED TO COMMIT TO BE ADJUDGED

03:23PM    7    GUILTY, AND I TOOK HIS PLEA.    AND IF HE DIDN'T, I WOULDN'T HAVE

03:23PM    8    TAKEN HIS PLEA.

03:23PM    9         BUT IT IS -- THERE IS -- IT COULD HAVE -- IT CONCLUDED

03:23PM   10    WITH THAT, FRANKLY.     HE COULD HAVE GONE OFF TO SYRIA AND WE

03:23PM   11    NEVER HEARD OF HIM AGAIN.    I MEAN, WE DON'T KNOW.

03:23PM   12         SO WHEN YOU COMPARE THAT TO THE OTHER CASES THAT YOU VIEW,

03:23PM   13    AND MS. MITCHELL HAS PROVIDED TO ME, WHERE THERE IS MORE

03:23PM   14    ACTIVITY IN CONJUNCTION WITH THE COMPLETION OF THE OFFENSE,

03:24PM   15    THAT WAS MY POINT.    I'M NOT SUGGESTING THAT HE DIDN'T COMPLETE

03:24PM   16    THE OFFENSE BECAUSE I TOOK HIS PLEA.

03:24PM   17               MS. BECKER:    YES, YOUR HONOR.   I THINK COMPARED TO

03:24PM   18    THE OTHER CASES, THERE ARE SOME CASES, YOU KNOW, I DON'T WANT

03:24PM   19    TO REPEAT MYSELF, THAT ARE SIMILARLY SITUATED, AND THERE ARE

03:24PM   20    OBVIOUSLY SOME, YES, THAT ARE MUCH MORE EGREGIOUS IN TERMS OF

03:24PM   21    THE PREPARATION.

03:24PM   22         BUT AS MS. MITCHELL WAS COMMENTING ON MR. NATSHEH'S

03:24PM   23    PREPARATION, THIS WAS NOT AN IMPULSIVE ACT ON HIS PART

03:24PM   24    WHATSOEVER.   HE HAD EXPRESSED FOR MONTHS AN INTEREST IN ISIL.

03:24PM   25    HE WAS INTERVIEWED BY LAW ENFORCEMENT AUTHORITIES AT WHICH TIME



                                   UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 23 of 39
                                                                                     23


03:24PM    1    HE STATED THAT HE HAD CHANGED HIS WAYS AND HE WAS NO LONGER

03:24PM    2    INTERESTED IN PURSUING THAT -- THOSE -- THAT WAY OR HIS

03:24PM    3    THOUGHTS.

03:24PM    4                THE COURT:    THE IMPORTANCE, THOUGH, IN MY MIND OF

03:24PM    5    THIS ADDITIONAL ACTIVITY IS NOT JUST THAT THERE IS ADDITIONAL

03:24PM    6    ACTIVITY.

03:24PM    7         IT'S JUST THAT WE CAN GLEAN FROM IN SOME OF THOSE CASES

03:24PM    8    THE ADDITIONAL ACTIVITY GIVES US A PRETTY GOOD WINDOW OF THE

03:24PM    9    INTENTION OF THE DEFENDANT.

03:25PM   10         IN THIS CASE WE HAVE ONE CLEAR INTENTION AND THAT IS TO GO

03:25PM   11    TO SYRIA AND JOIN THIS ORGANIZATION.     THAT'S THE ONLY REAL

03:25PM   12    INTENTION THAT WE KNOW OF AT THIS POINT WHEREAS SOME OF THE

03:25PM   13    OTHER CASES WHEN THERE ARE -- WHEN THEY'RE RECRUITING OTHERS

03:25PM   14    AND WHEN THEY ARE DOING THAT KIND OF ACTIVITY, THAT'S AN

03:25PM   15    ADDITIONAL HARM AND DANGER TO THE UNITED STATES BY DOING THAT.

03:25PM   16         SO THE POINT IS SIMPLY THAT WITH THAT ADDITIONAL ACTIVITY

03:25PM   17    YOU CAN REALLY ASSESS THE MAGNITUDE OF THE DANGER IN A WAY THAT

03:25PM   18    I THINK I'M HAVING A HARD TIME OF DOING HERE.

03:25PM   19                MS. BECKER:   UNDERSTOOD.   I DON'T HAVE ANY OTHER

03:25PM   20    FACTS TO OFFER TO THE COURT OTHER THAN THE INTENDED TRAVEL WITH

03:25PM   21    A MINOR.

03:25PM   22                THE COURT:    RIGHT.

03:25PM   23                MS. BECKER:   WE'RE NOT AWARE OF HIM OBTAINING

03:25PM   24    MILITARY TRAINING IN THE UNITED STATES PRIOR TO LEAVING.        WE

03:25PM   25    DON'T KNOW WHAT WOULD HAVE HAPPENED HAD HE RETURNED TO THE



                                   UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 24 of 39
                                                                                  24


03:26PM    1    UNITED STATES.   THERE ARE MANY OPEN QUESTIONS.    SO THE

03:26PM    2    GOVERNMENT AGREES WITH ALL THAT IT'S FORTUNATE THAT HE WAS

03:26PM    3    STOPPED AT THE AIRPORT SO THAT BOTH HIS LIFE AND OTHERS WERE

03:26PM    4    PROTECTED.

03:26PM    5           BUT GOING BACK TO THE THOUGHT THAT THIS WAS NOT AN

03:26PM    6    IMPULSIVE ACT ON HIS PART, AGAIN, HE HAD BEEN COMMUNICATING FOR

03:26PM    7    MONTHS ABOUT HIS INTENT TO JOIN ISIL.     HE OBVIOUSLY HAD ALREADY

03:26PM    8    BEEN RADICALIZED AND HAD BEEN COMMUNICATING WITH A MINOR ABOUT

03:26PM    9    COMMITTING ACTS OVERSEAS.    HE DID OPEN UP A NEW LINE OF CREDIT

03:26PM   10    TO PURCHASE A TICKET AND HE EMPTIED HIS BANK ACCOUNT PRIOR TO

03:26PM   11    LEAVING.   THIS WAS A CONCERTED PLAN, AGAIN, NOT JUST SHOWING UP

03:26PM   12    AT THE AIRPORT AND DECIDED TO GO FOR THE DAY.

03:26PM   13           SO MS. MITCHELL HAS OBVIOUSLY POINTED OUT SENTENCES THAT

03:26PM   14    ARE AT THE LOW END.   AS THE COURT HAS REVIEWED THE REPORT THAT

03:26PM   15    WAS ATTACHED TO THE GOVERNMENT'S FIRST SENTENCING MEMORANDUM,

03:26PM   16    THERE ARE OBVIOUSLY A NUMBER OF SENTENCES THAT ARE AT THE OTHER

03:26PM   17    END.    AGAIN, MANY OF THOSE CASES INVOLVE DIFFERENT

03:26PM   18    CIRCUMSTANCES THAN THE CASE AT HAND, BUT, AGAIN, THERE ARE

03:27PM   19    SEVERAL LETTERS STILL WITHIN THE HEARTLAND OF WHAT WE'RE

03:27PM   20    LOOKING AT.   AT THE TIME OF THE SENTENCES IN ALL OF THOSE CASES

03:27PM   21    THE STATUTORY MAXIMUM WAS 15 YEARS AND THERE ARE, IN FACT,

03:27PM   22    SEVERAL DEFENDANTS WHO RECEIVED 15 YEARS WHETHER THEY PLED OR

03:27PM   23    WERE CONVICTED AT TRIAL.

03:27PM   24           THERE ARE SOME WHO RECEIVED A SLIGHTLY LESSER SENTENCE OF

03:27PM   25    10 YEARS, AND THAT IS, IN FACT, WHAT THE GOVERNMENT IS



                                   UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 25 of 39
                                                                                   25


03:27PM    1    RECOMMENDING HERE BY RECOMMENDING 15 YEARS.        THE STATUTORY

03:27PM    2    MAXIMUM CHANGED IN THE MEANTIME TO 20 YEARS.       THE GOVERNMENT IS

03:27PM    3    RECOMMENDING A SENTENCE OF 15 YEARS AS BEING APPROPRIATE.

03:27PM    4    GIVEN THE CIRCUMSTANCES OF THIS CASE, THEY ARE NOT AS EGREGIOUS

03:27PM    5    AS SOME OF THE OTHERS BUT NEVERTHELESS DEMONSTRATE 100 PERCENT

03:27PM    6    COMMITMENT TO COMMITTING THE ACT AS MUCH AS ANY OTHER

03:27PM    7    DEFENDANTS IN ANY OF THOSE CASES.

03:27PM    8               THE COURT:   THANK YOU.

03:27PM    9         MR. NATSHEH, THIS IS YOUR SENTENCING.     YOU HAVE A RIGHT TO

03:27PM   10    SPEAK DIRECTLY TO ME.    YOU'RE NOT OBLIGATED TO DO SO.     IT'S UP

03:28PM   11    TO YOU.

03:28PM   12         BUT IF THERE IS ANYTHING YOU WANT TO SAY, NOW WOULD BE THE

03:28PM   13    TIME TO SAY IT.

03:28PM   14               THE DEFENDANT:   SO I JUST WANT TO SAY THAT --

03:28PM   15               THE COURT:   WHY DON'T YOU MOVE THE MICROPHONE CLOSER

03:28PM   16    TO YOU.

03:28PM   17               THE DEFENDANT:   SO I JUST WANT TO SAY THAT I'M FULLY

03:28PM   18    AWARE OF THE NATURE OF MY CRIME AND THE CONSEQUENCES THAT MY

03:28PM   19    ACTIONS HAVE YIELD, AND WHAT I TRIED TO DO IS VERY WRONG AND IT

03:28PM   20    SOUNDS REALLY UGLY, BUT I'M VERY FORTUNATE THAT I'M HERE EVEN

03:28PM   21    THOUGH I'M INCARCERATED.    MY DAD TELLS ME THAT ALL OF THE TIME

03:28PM   22    BECAUSE THERE'S NO GUARANTEE THAT --

03:28PM   23               THE COURT:   HE'S RIGHT.

03:28PM   24               THE DEFENDANT:   -- THERE'S NO GUARANTEE THAT IF I

03:28PM   25    WOULD HAVE SUCCESSFULLY MADE IT TO SYRIA THAT I WOULD BE ALIVE.



                                   UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 26 of 39
                                                                                    26


03:28PM    1         THE CONTEXT OF MY CRIME REQUIRED ME TO ABANDON MY FAMILY

03:28PM    2    WITHOUT THE POSSIBILITY OF EVER SEEING THEM AGAIN, AND IT WAS

03:28PM    3    REALLY AN ACT OF SELFISHNESS, AND I DIDN'T REALIZE HOW MUCH MY

03:29PM    4    FAMILY NEEDED ME.    IT WAS A DESPERATE ATTEMPT TO TRY TO DO

03:29PM    5    SOMETHING TO MAKE MYSELF FEEL GOOD BY TRYING TO HELP OTHERS.

03:29PM    6         SO I KNOW THAT I HAVE A PROBLEM, AND I UNDERSTAND THAT I

03:29PM    7    DO HAVE THE PROBLEM.    AND I DON'T KNOW THE WAY THE DRUG

03:29PM    8    PROGRAMS DO IT, BUT THE FIRST THING IS THAT YOU ACKNOWLEDGE

03:29PM    9    THAT YOU HAVE A PROBLEM AND THEN YOU TRY TO SEE HOW IT

03:29PM   10    HAPPENED.

03:29PM   11         SO I'VE READ A LOT INTO THE SUBJECT, AND I WAS REALLY

03:29PM   12    MOVED EMOTIONALLY BY THE HUMANITARIAN CRISIS IN SYRIA, AND IT'S

03:29PM   13    NOT AN UNDERSTATEMENT THAT THEY TOOK THAT OPPORTUNITY TO TAKE

03:30PM   14    ADVANTAGE OF OUR EMOTIONS.     REALLY THAT'S WHAT I WANTED TO DO

03:30PM   15    WAS TO TRY TO HELP PEOPLE.

03:30PM   16         YOU KNOW, I HAVE A HISTORY OF DOING A LOT OF CHARITY WORK

03:30PM   17    AND RAISING MONEY FOR THE PALESTINIANS IN GAZA AND FOR THE

03:30PM   18    DROUGHT IN WEST AFRICA AND FOR MANY OTHER THINGS.      AND THAT'S

03:30PM   19    REALLY WHAT I WAS TRYING TO DO.     IT JUST SOUNDS REALLY UGLY.

03:30PM   20    IT'S A TERRORIST ORGANIZATION.

03:30PM   21         THE CHARGE IS A TERRORISM CHARGE, BUT I THINK IT'S -- MY

03:30PM   22    CASE IS LESS SERIOUS THAN IT REALLY SOUNDS, BUT I'M NOT TRYING

03:30PM   23    TO JUSTIFY WHAT I TRIED TO DO.     IT WAS WRONG.    I WAS IGNORANT.

03:30PM   24    I WAS NAIVE.   I WAS IMMATURE.    AND I WAS JUST -- THE MOMENTS

03:30PM   25    BEFORE GETTING A -- BEFORE TRYING TO GET ON THE PLANE I JUST --



                                    UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 27 of 39
                                                                                 27


03:30PM    1    MY WHOLE THINKING WAS JUST CLOUDY AND NOW I CAN SEE THAT

03:31PM    2    THERE'S SO MANY DIFFERENT WAYS THAT I COULD HAVE HAD HELP BUT,

03:31PM    3    YOU KNOW, MY OLD WAY OF THINKING WAS WRONG, THE WAY I TRIED TO

03:31PM    4    HELP THE PEOPLE WAS WRONG, AND I LOST DIRECTION.

03:31PM    5         AND I'M GOING TO BETTER MYSELF, AND I HAVE THE SUPPORT OF

03:31PM    6    MY FAMILY, MY FRIENDS.    I LOVE THEM.   THEY'VE REALLY HELPED ME

03:31PM    7    IN THIS PROCESS TO TRANSITION FROM MY OLD WAY OF THINKING.      SO

03:31PM    8    THAT'S WHAT I'VE BEEN FOCUSSING ON IN THE PAST 11 MONTHS,

03:31PM    9    FOCUSSING ON RESTRUCTURING MYSELF MENTALLY, PSYCHOLOGICALLY,

03:31PM   10    AND I'VE REALIGNED MY FOCUS ON FINISHING MY EDUCATION, BUILDING

03:31PM   11    A STRONG BOND WITH FAMILY AND AMBITIONS OF OPENING MY OWN

03:32PM   12    BUSINESS.

03:32PM   13         THE FAMILY AND FRIENDS WHO ARE HERE TODAY, THEY CONTINUE

03:32PM   14    TO STAND BY ME AND THEY KNOW THAT I HAVE THE CHARACTER TO KEEP

03:32PM   15    ON GOING AND TO SUCCEED IN THIS LIFE, AND I JUST HOPE THAT YOU

03:32PM   16    SEE THAT, TOO, AND THAT YOU FEEL STRONG AND CONFIDENT THAT I

03:32PM   17    HAVE MORE TO OFFER MY COUNTRY, MY COMMUNITY BY BEING A

03:32PM   18    PRODUCTIVE CITIZEN AGAIN.

03:32PM   19         AND I HAVE A GOOD HEART.    I'M A GOOD PERSON AND I JUST --

03:32PM   20    I STRAYED OFF THE PATH AND GETTING ARRESTED IS PROBABLY THE

03:32PM   21    MOST FORTUNATE THING TO HAPPEN.

03:32PM   22         AND I JUST NEED HELP.

03:32PM   23                THE COURT:   AS YOU KNOW FROM THE DISCUSSION THAT

03:33PM   24    WE'VE JUST HAD AND IN THE MATERIALS THAT I'VE REVIEWED YOU

03:33PM   25    CERTAINLY HAVE A FIRST AMENDMENT RIGHT TO SAY -- EXPRESS YOUR



                                   UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 28 of 39
                                                                                 28


03:33PM    1    VIEWS, BUT YOU UNDERSTAND THAT SOME OF THE THINGS THAT WERE

03:33PM    2    POSTED BEFORE THIS TRIP THAT INDICATED ON YOUR PART SOME

03:33PM    3    ACCEPTANCE OF SOME REALLY REVOLTING AND HORRIBLE THINGS.

03:33PM    4         HOW CAN YOU -- AND YOU'VE INDICATED TO ME THAT YOU'VE SEEN

03:33PM    5    YOUR WAYS.    HOW CAN I KNOW THAT?   WHAT CAN YOU TELL ME TO

03:33PM    6    CAUSE -- TO MAKE SURE THAT I UNDERSTAND THAT YOU'VE LOOKED AT

03:33PM    7    THOSE THINGS AND REALIZED HOW HORRIFIC THEY REALLY ARE AND THAT

03:33PM    8    THEY'RE NOT HUMANITARIAN AND ALL OF THAT?      WHAT CAN YOU TELL ME

03:33PM    9    ON THAT?

03:33PM   10                 THE DEFENDANT:   JUST EVERYTHING I'VE BEEN READING IN

03:33PM   11    THE NEWSPAPER AND SEEING ON THE NEWS AND THE RECENT EVENTS THAT

03:33PM   12    HAPPENED IN EUROPE AND THE UNITED STATES, IT JUST BECOMES MORE

03:34PM   13    APPARENT THAT THEY'RE NO DIFFERENT THAN AL-QUEDA, BUT THEY TRY

03:34PM   14    TO POSE THEMSELVES DIFFERENT THAN AL-QUEDA BY SAYING THAT, YOU

03:34PM   15    KNOW, WE'RE TRYING TO HELP THE PEOPLE AND WE'RE DOING ALL OF

03:34PM   16    THESE THINGS AND ME BEING NAIVE, THEY TOOK ADVANTAGE OF ME AND

03:34PM   17    MY EMOTIONS AND BASICALLY SAID, WELL, HERE'S THE FOUNDATION FOR

03:34PM   18    YOU TO DO THAT TO HELP AND WE HAVE ALL OF THE RESOURCES THAT

03:34PM   19    YOU NEED AND THEY JUST -- THAT WAS MORE -- IT WAS MORE

03:34PM   20    APPEALING AT THE TIME TO GO AND DO THAT.

03:34PM   21         THE PROPAGANDA IS REALLY POWERFUL.      LIKE, NONE OF, NONE OF

03:34PM   22    THE STUFF THAT WAS COMING OUT OF SYRIA WOULD AFFECT YOU TO TRY

03:34PM   23    TO MAKE YOU DO SOMETHING EXCEPT THAT GROUP, AND THEY WERE THE

03:34PM   24    ONLY GROUP TO BE DOING SOME TYPE OF PROPAGANDA THAT WOULD

03:34PM   25    ACTUALLY MOVE ME TO DO THINGS.



                                    UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 29 of 39
                                                                                    29


03:35PM    1         AND IT'S WRONG AND THAT'S NOT WHAT I SUPPORT ANYMORE, AND

03:35PM    2    I DON'T KNOW HOW LONG I HAVE TO STAY IN JAIL FOR THE GOVERNMENT

03:35PM    3    OR FOR THE COMMUNITY TO BE COMFORTABLE AND SAYING, OKAY, I

03:35PM    4    THINK HE'S COOL.   ALL RIGHT, HE'S NOT RADICALIZED ANYMORE.

03:35PM    5         THIS IS THE FIRST TIME BEING IN THE CRIMINAL JUSTICE

03:35PM    6    SYSTEM AND JUST GIVE ME A CHANCE TO TRY, JUST TRY ME.      THAT'S

03:35PM    7    WHAT I'M ASKING.   TRY ME AND SEE HOW I DO AND SEE HOW I

03:35PM    8    PROGRESS.

03:35PM    9                THE COURT:   THANK YOU.   YOUR HONOR.

03:35PM   10                MS. MITCHELL:   YOUR HONOR, I WOULD JUST ADD THAT

03:35PM   11    I'VE HAD A LOT OF OPPORTUNITY TO SIT AND MEET WITH MR. NATSHEH,

03:35PM   12    AND I HAVE BEEN PERSONALLY AFFECTED BY THE LOSS OF THE LIFE OF

03:35PM   13    ONE OF MY FRIENDS DIRECTLY FROM ISIL IN A VERY PUBLIC AND

03:36PM   14    HORRIBLE WAY.   ONE OF MY FRIENDS WAS ACTUALLY BEHEADED, AND IT

03:36PM   15    WAS IN THE YOUTUBE VIDEO THAT WENT EVERYWHERE.

03:36PM   16         WHEN I SIT AND I TALK TO MR. NATSHEH, I DON'T FEEL THAT HE

03:36PM   17    IS CAPABLE OF DOING THOSE KINDS OF ACTS.     WHEN I SIT AND I TALK

03:36PM   18    TO HIM, I SEE A YOUNG KID WHO HAS BEEN INVOLVED IN A -- FOR A

03:36PM   19    LONG TIME IN TRYING TO DO THINGS HE SEES FOR COMMUNITIES THAT

03:36PM   20    ARE DISADVANTAGED.   AND I SEE SOMEONE WHO WAS TRYING TO DO THAT

03:36PM   21    AND IN A VERY WRONG WAY, BUT HE WAS TRYING TO DO THAT.

03:36PM   22                THE COURT:   OF COURSE, THE -- JUST A FACT THAT HE --

03:36PM   23    MR. NATSHEH HAS TO UNDERSTAND IS THAT THIS NOW IS BIGGER THAN

03:36PM   24    MR. NATSHEH.    IT'S ALSO A DETERRENCE ISSUE, AND THERE ARE SADLY

03:37PM   25    OTHERS OUT THERE WHO I HEARD WHAT MR. NATSHEH SAID, AND I



                                   UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 30 of 39
                                                                                 30


03:37PM    1    APPRECIATE IT, AND I BELIEVE IT'S HEARTFELT, BUT IT ISN'T,

03:37PM    2    UNFORTUNATELY FOR HIM, JUST ABOUT HIM ANYMORE.

03:37PM    3         SO THE PROCESS HAS TO SEND THE MESSAGE TO OTHERS WHO FIND

03:37PM    4    THEMSELVES LIKE HIM THAT IT'S NOT A LARK, IT'S NOT A FROLIC.

03:37PM    5    YOU DO WHAT WAS DONE HERE BECAUSE FORTUNATELY HE WAS

03:37PM    6    APPREHENDED.   THE COURT COULD GO FURTHER.    AND HOPEFULLY HE

03:37PM    7    WILL LEAD A PRODUCTIVE LIFE, AND HE WILL HAVE THE OPPORTUNITY

03:37PM    8    TO DO THAT.

03:37PM    9         BUT THE WORD HAS TO GO OUT TO OTHERS IN THE COMMUNITY THAT

03:37PM   10    WE WON'T SAY, OH, THAT'S OKAY BECAUSE IT'S NOT OKAY.      SO IT IS

03:37PM   11    BIGGER THAN JUST THIS DEFENDANT.

03:37PM   12         ANY LEGAL REASON WHY SENTENCE MAY NOT BE IMPOSED AT THIS

03:37PM   13    TIME?

03:37PM   14               MS. BECKER:    YES, YOUR HONOR.

03:37PM   15               MS. MITCHELL:   NO, YOUR HONOR.

03:37PM   16               THE COURT:    MY TASK, AS YOU KNOW, IS TO APPLY THE

03:38PM   17    FACTORS THAT ARE SET FORTH UNDER 18 U.S.C. SECTION 3553(A),

03:38PM   18    THAT DIRECTS ME TO IMPOSE A SENTENCE THAT IS SUFFICIENT BUT NOT

03:38PM   19    GREATER THAN NECESSARY.

03:38PM   20         WE'VE HAD A LOT OF DISCUSSION HERE SO I DON'T HAVE TO GO

03:38PM   21    THROUGH ALL OF IT AGAIN, BUT NO DOUBT THIS IS A SERIOUS OFFENSE

03:38PM   22    AND IT IS, HOWEVER ONE MAY WANT TO CHARACTERIZE IT AT THE END

03:38PM   23    OF THE DAY, ATTEMPTING TO PROVIDE AID TO A MURDEROUS TERRORIST

03:38PM   24    ORGANIZATION, AND FORTUNATELY BOTH FOR MR. NATSHEH AND FOR

03:38PM   25    EVERYONE ELSE HE WAS APPREHENDED BEFORE HE COULD JOIN THOSE



                                   UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 31 of 39
                                                                                    31


03:38PM    1    EFFORTS.    AND WE WON'T REALLY EVER KNOW WHAT MIGHT HAVE

03:38PM    2    TRANSPIRED, BUT WE CERTAINLY COULD HAVE FACED THE PROSPECT IN

03:38PM    3    PARTICULAR BECAUSE OF HIS CITIZENSHIP AND HE COULD HAVE COME

03:38PM    4    BACK TO THE UNITED STATES AT SOME POINT, AT A POINT WHERE THAT

03:38PM    5    COULD HAVE BEEN DANGEROUS.

03:38PM    6         AT THE SAME TIME, I DO RECOGNIZE THAT MR. NATSHEH IS AND

03:39PM    7    WAS AT THE TIME OF THIS OFFENSE A TROUBLED YOUNG MAN.      HE WAS

03:39PM    8    BATTLING DEPRESSION AND ALIENATION, NOT THAT THAT'S AN EXCUSE,

03:39PM    9    BUT MORE IMPORTANTLY, HE DID DO THE BASIC ACTIVITY THAT

03:39PM   10    WARRANTS THE CONVICTION BUT NOT MUCH MORE.

03:39PM   11         THERE WASN'T ANY TRAINING.    THERE WEREN'T ANY WEAPONS

03:39PM   12    INVOLVED.    THERE WASN'T ANY PROVIDING FINANCIAL ASSISTANCE.

03:39PM   13    THERE DOESN'T APPEAR TO HAVE BEEN ANY DIRECT EFFORT TO RECRUIT

03:39PM   14    OTHERS.    THE CONDUCT REALLY WAS RESTRICTED TO STARTING THE

03:39PM   15    PROCESS OF JOINING UP WITH A TERRORIST ORGANIZATION.

03:39PM   16         THE TERRORIST ENHANCEMENT AND THE STATUTORY MAXIMUM, I

03:39PM   17    THINK, ARE INTENDED FOR VERY DIFFERENT CASES THAN WE HAVE HERE.

03:39PM   18    I MEAN, IT'S AN IMPORTANT STATUTE DIRECTED TO IMPORTANT

03:39PM   19    ACTIVITY THAT IS VERY DANGEROUS TO THE UNITED STATES, BUT THIS

03:39PM   20    CASE IS REALLY MUCH MORE SIMILAR ALONG THE LINES OF THE CASES

03:40PM   21    THAT HAVE INVOLVED REALLY ONE END OF THE SPECTRUM OF ACTUAL

03:40PM   22    CONDUCT.

03:40PM   23         SO THOSE ARE THE CASES THAT I'M LOOKING TO, AND I THINK

03:40PM   24    THE RANGE OF THOSE CASES, AS I LOOKED AT THE COMPARABLES THAT

03:40PM   25    WERE PROVIDED TO ME, AND I KNOW MS. MITCHELL SAID THAT THERE



                                   UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 32 of 39
                                                                                      32


03:40PM    1    WAS A RECENT PROBATIONARY SENTENCE, BUT IT APPEARED THAT MOST

03:40PM    2    OF THE SENTENCES WERE IN MOST OF THE 36- TO 84-MONTH RANGE, AND

03:40PM    3    I THINK SOMEWHERE IN THAT RANGE IS THE APPROPRIATE PLACE TO SET

03:40PM    4    THIS.

03:40PM    5         SO I THINK -- AND I THINK A LONG TERM OF SUPERVISED

03:40PM    6    RELEASE IS IMPORTANT, AND WE HAD THAT DISCUSSION ABOUT PROGRAMS

03:40PM    7    THAT MAY ACTUALLY DIRECTLY GO TO SOME OF THESE CONCERNS.        I'M

03:40PM    8    NOT SUGGESTING THAT MR. NATSHEH IS NOT BEING ENTIRELY SINCERE.

03:40PM    9    HE'S SEEN, AS HE SAID, THE ERRORS OF HIS WAY, AND HE'S NOT

03:40PM   10    GOING THE RADICAL ROUTE, BUT I STILL WISH WE HAD BETTER

03:40PM   11    PROGRAMS THAT WOULD ASSIST IN THAT DIRECTION.

03:40PM   12         SO I THINK IT IS A SIGNIFICANT SENTENCE TO IMPOSE A

03:41PM   13    60-MONTH SENTENCE.   THAT'S A LONG TIME.    AND I THINK FOR

03:41PM   14    SOMEONE IN MR. NATSHEH'S POSITION, HE WOULD PROBABLY VIEW THAT

03:41PM   15    AS A VERY LONG TIME.   BUT I THINK IT DOES SEND THE MESSAGE TO

03:41PM   16    THE COMMUNITY THAT THERE'S A COST ASSOCIATED WITH ENGAGING IN

03:41PM   17    THIS ACTIVITY WHICH IN A DIFFERENT CONTEXT COULD HAVE BEEN

03:41PM   18    EXTRAORDINARILY DANGEROUS AND SERIOUS.     FORTUNATELY HERE IT WAS

03:41PM   19    STOPPED BEFORE IT GOT TO THAT POINT.

03:41PM   20         SO I THINK A 60-MONTH SENTENCE FOLLOWED BY A LONG PERIOD

03:41PM   21    OF SUPERVISED RELEASE WHERE HOPEFULLY AT THE POINT WHERE

03:41PM   22    MR. NATSHEH IS BACK INTO THE COMMUNITY, HE COULD ACTUALLY GET

03:41PM   23    ASSISTANCE FROM THE PROBATION AUTHORITIES IN TERMS OF GETTING

03:41PM   24    BACK ON HIS FEET AND MOVING FORWARD WITH HIS LIFE, AND HE MAY

03:41PM   25    NOT VIEW IT THIS WAY, BUT HE STILL WILL BE A YOUNG MAN WHEN



                                   UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 33 of 39
                                                                                   33


03:41PM    1    HE'S -- HE WILL BE IN HIS TWENTIES AND WHEN HE IS BACK IN THE

03:41PM    2    COMMUNITY.

03:41PM    3         SO PURSUANT TO THE SENTENCING REFORM ACT OF THE 1984 IT IS

03:42PM    4    THE JUDGMENT OF THE COURT THAT ISLAM NATSHEH IS HEREBY

03:42PM    5    COMMITTED TO THE CUSTODY OF THE BUREAU OF PRISONS TO BE

03:42PM    6    IMPRISONED FOR A TERM OF 60 MONTHS.      AND THAT OBVIOUSLY, SO

03:42PM    7    IT'S CLEAR, IT REPRESENTS A VARIANCE OF THE STATUTORY MAXIMUM.

03:42PM    8    THE COURT RECOMMENDS THAT THE DEFENDANT PARTICIPATE IN THE

03:42PM    9    BUREAU OF PRISONS RESIDENTIAL DRUG TREATMENT PROGRAM.

03:42PM   10         AND THAT RECOMMENDATION, I TAKE IT, WAS BASED ON THE USE

03:42PM   11    OF CONTROLLED SUBSTANCES?

03:42PM   12                 PROBATION OFFICER:   HE HAD A SIGNIFICANT MARIJUANA

03:42PM   13    ADDICTION AT THE TIME.

03:42PM   14                 THE COURT:   ALL RIGHT.   UPON RELEASE FROM

03:42PM   15    IMPRISONMENT, THE DEFENDANT SHALL BE PLACED ON SUPERVISED

03:42PM   16    RELEASE FOR A PERIOD OF SIX YEARS.

03:42PM   17         WITHIN 72 HOURS OF RELEASE FROM CUSTODY FROM THE BUREAU OF

03:42PM   18    PRISONS, THE DEFENDANT SHALL REPORT IN PERSON TO THE PROBATION

03:42PM   19    OFFICE IN THE DISTRICT TO WHICH THE DEFENDANT IS RELEASED.

03:42PM   20         WHILE ON SUPERVISED RELEASE, THE DEFENDANT SHALL NOT

03:42PM   21    COMMIT ANOTHER FEDERAL, STATE OR LOCAL OR CRIME, SHALL COMPLY

03:42PM   22    WITH THE STANDARD CONDITIONS THAT HAVE BEEN ADOPTED BY THIS

03:43PM   23    COURT, AND SHALL REFRAIN FROM ANY UNLAWFUL USE OF THE

03:43PM   24    CONTROLLED SUBSTANCE AND SUBMIT TO THE DRUG TEST WITHIN 15 DAYS

03:43PM   25    OF RELEASE ON SUPERVISED RELEASE AND TWO PERIODIC DRUG TESTS



                                    UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 34 of 39
                                                                                      34


03:43PM    1    THEREAFTER AND SHALL COMPLY WITH THE FOLLOWING CONDITIONS.

03:43PM    2         1.     THE DEFENDANT SHALL PARTICIPATE IN A PROGRAM OF

03:43PM    3    TESTING AND TREATMENT FOR DRUG ABUSE AS DIRECTED BY THE

03:43PM    4    PROBATION OFFICER UNTIL SUCH TIME THAT THE DEFENDANT IS

03:43PM    5    RELEASED FROM TREATMENT BY THE PROBATION OFFICER.

03:43PM    6         THE DEFENDANT IS TO PAY PART OR ALL OF THE COST OF THE

03:43PM    7    TREATMENT IN AN AMOUNT NOT TO EXCEED THE COST OF TREATMENT AS

03:43PM    8    DEEMED APPROPRIATE BY THE PROBATION OFFICER.       PAYMENTS SHALL

03:43PM    9    NEVER EXCEED THE TOTAL COST OF URINALYSIS AND COUNSELLING.

03:43PM   10    THE ACTUAL COPAYMENT SHALL BE DETERMINED BY THE PROBATION

03:43PM   11    OFFICER.

03:43PM   12         2.     THE DEFENDANT SHALL PARTICIPATE IN A MENTAL HEALTH

03:43PM   13    TREATMENT PROGRAM AS DIRECTED BY THE PROBATION OFFICER.         THE

03:43PM   14    DEFENDANT IS TO PAY PART OR ALL OF THE COST OF THIS TREATMENT

03:43PM   15    AT AN AMOUNT NOT TO EXCEED THE COST OF TREATMENT AS DEEMED

03:43PM   16    APPROPRIATE BY THE PROBATION OFFICER.     PAYMENTS SHALL NEVER

03:43PM   17    EXCEED THE TOTAL COST OF MENTAL HEALTH COUNSELLING.      THE ACTUAL

03:43PM   18    COPAYMENT SCHEDULE SHALL BE DETERMINED BY THE COUNSELLOR.

03:43PM   19         3.     THE DEFENDANT -- AS DIRECTED BY THE PROBATION

03:44PM   20    OFFICER, THE DEFENDANT SHALL ENROLL IN THE PROBATION OFFICER'S

03:44PM   21    COMPUTER AND INTERNET MONITORING PROGRAM (CIMP) AND SHALL ABIDE

03:44PM   22    BY THE REQUIREMENTS OF THE CIMP PROGRAM AND THE ACCEPTABLE USE

03:44PM   23    CONTRACT.

03:44PM   24         4.     THE DEFENDANT SHALL CONSENT TO THE PROBATION

03:44PM   25    OFFICER CONDUCTING A PERIODIC UNANNOUNCED EXAMINATION OF HIS



                                   UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 35 of 39
                                                                                 35


03:44PM    1    COMPUTER EQUIPMENT.   I NOTE, BY THE WAY, THERE WERE SOME

03:44PM    2    OBJECTIONS BY THE DEFENSE TO CERTAIN OF THESE CONDITIONS, ONE

03:44PM    3    WITH RESPECT TO FINANCIAL INFORMATION AND THE LIKE.

03:44PM    4         I'VE READ THE REPLY THAT THE GOVERNMENT PROVIDED.      I THINK

03:44PM    5    THE GOVERNMENT HAS CONVINCED ME THAT THESE ARE APPROPRIATE

03:44PM    6    CONDITIONS SO I WILL OVERRULE THOSE OBJECTIONS.

03:44PM    7         SO GOING BACK TO NUMBER 4.    THE DEFENDANT SHALL CONSENT TO

03:44PM    8    THE PROBATION OFFICER CONDUCTING PERIODIC UNANNOUNCED

03:44PM    9    EXAMINATIONS OF HIS COMPUTER EQUIPMENT WHICH MAY INCLUDE

03:44PM   10    RETRIEVAL AND COPYING OF ALL DATA FROM HIS COMPUTERS AND ANY

03:44PM   11    PERIPHERAL DEVICE TO ENSURE COMPLIANCE WITH THIS CONDITION,

03:44PM   12    AND/OR REMOVAL OF ANY SUCH EQUIPMENT FOR THE PURPOSE OF

03:44PM   13    CONDUCTING MORE THOROUGH INSPECTION.     THE DEFENDANT SHALL ALSO

03:44PM   14    CONSENT TO THE INSTALLATION OF THE HARDWARE AND SOFTWARE AS

03:44PM   15    DIRECTED BY THE PROBATION OFFICER TO MONITOR THE DEFENDANT'S

03:45PM   16    INTERNET USE.

03:45PM   17         5.     THE DEFENDANT SHALL PAY ANY SPECIAL ASSESSMENT THAT

03:45PM   18    IS IMPOSED BY THIS JUDGMENT AND THAT REMAINS UNPAID AT THE

03:45PM   19    COMMENCEMENT OF THE TERM OF SUPERVISED RELEASE.

03:45PM   20         6.     THE DEFENDANT SHALL PROVIDE THE PROBATION OFFICER

03:45PM   21    WITH ACCESS TO ANY FINANCIAL INFORMATION, INCLUDING TAX

03:45PM   22    RETURNS, AND SHALL AUTHORIZE THE PROBATION OFFICER TO CONDUCT

03:45PM   23    CREDIT CHECKS AND OBTAIN COPIES OF THE CREDIT RETURNS.

03:45PM   24         THE DEFENDANT SHALL AT ALL TIMES EITHER HAVE FULL-TIME

03:45PM   25    EMPLOYMENT, FULL-TIME TRAINING FOR EMPLOYMENT, FULL-TIME JOB



                                   UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 36 of 39
                                                                                   36


03:45PM    1    SEARCH, ENROLLED IN COLLEGE OR SOME COMBINATION THEREOF UNLESS

03:45PM    2    OTHERWISE EXCUSED BY THE PROBATION OFFICER.

03:45PM    3         8.     THE DEFENDANT SHALL SUBMIT HIS PERSON, RESIDENCE,

03:45PM    4    OFFICE, VEHICLE OR ANY PROPERTY UNDER HIS CONTROL TO A SEARCH.

03:45PM    5    SUCH A SEARCH WILL BE CONDUCTED BY A UNITED STATES PROBATION

03:45PM    6    OFFICER AT A REASONABLE TIME AND IN A REASONABLE MANNER BASED

03:45PM    7    UPON A REASONABLE SUSPICION OF CONTRABAND OR EVIDENCE OF A

03:45PM    8    VIOLATION OF A CONDITION OF RELEASE.     FAILURE TO SUBMIT TO SUCH

03:45PM    9    A SEARCH WILL BE GROUNDS FOR REVOCATION.     THE DEFENDANT SHALL

03:45PM   10    WARN ANY RESIDENTS THAT THE PREMISES MAY BE SUBJECT TO

03:45PM   11    SEARCHES.

03:45PM   12         9.     THE DEFENDANT SHALL NOT ASSOCIATE WITH ANY MEMBER

03:45PM   13    OF THE ISLAMIC STATE OF IRAQ, AL SHAM, ISIS, THE ISLAMIC STATE

03:46PM   14    OF IRAQ AND SYRIA -- I'M NOT SURE I CAN PRONOUNCE THIS --

03:46PM   15    AD-DAWLA AL-ISLAMIYYA F AL-'IRAQ WA-SH-SHAM, DAESH, DAWLA AL

03:46PM   16    ISLAMIYA, AND AL-FURQUAN ESTABLISHMENT FOR MEDIA PRODUCTION.

03:46PM   17         THE DEFENDANT SHALL HAVE NO CONNECTION WHATSOEVER WITH

03:46PM   18    THESE TERRORIST GROUPS OR ANY OTHER TERRORIST GROUP OR GANG.

03:46PM   19         IF HE IS FOUND TO BE IN THE COMPANY OF SUCH INDIVIDUALS OR

03:46PM   20    WEARING THE CLOTHING, COLORS OR INSIGNIA -- I KNOW THE

03:46PM   21    DEFENDANTS POINTED OUT THEY DON'T HAVE A GANG COLOR AND THE

03:46PM   22    LIKE AND THAT'S A REASONABLE POINT, BUT TO THE EXTENT THAT

03:46PM   23    THERE IS ANY KIND OF LOGO OR INDICIA OF THE ABOVE NOTED

03:46PM   24    TERRORIST GROUPS SHOULD THEY DEVELOP SUCH, THE COURT WILL

03:46PM   25    PRESUME THAT THE ASSOCIATION WAS FOR THE PURPOSE OF



                                   UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 37 of 39
                                                                                37


03:46PM    1    PARTICIPATING IN THE ACTIVITY OF THOSE GROUPS.

03:46PM    2         10.    THE DEFENDANT SHALL COOPERATE IN THE COLLECTION OF

03:47PM    3    DNA AS DIRECTED BY THE PROBATION OFFICER.

03:47PM    4         11.    THE DEFENDANT SHALL NOT OWN OR POSSESS ANY

03:47PM    5    FIREARMS, AMMUNITION, DESTRUCTIVE DEVICES OR OTHER DANGEROUS

03:47PM    6    WEAPONS.

03:47PM    7         IT IS FURTHER ORDERED THAT THE DEFENDANT SHALL PAY TO THE

03:47PM    8    UNITED STATES A SPECIAL ASSESSMENT OF $100 AND PAYMENT SHALL BE

03:47PM    9    MADE TO THE CLERK OF THE U.S. DISTRICT COURT, 450 GOLDEN GATE

03:47PM   10    AVENUE, BOX 36060, SAN FRANCISCO, CA 94102.

03:47PM   11         DURING IMPRISONMENT, PAYMENT OF CRIMINAL MONETARY

03:47PM   12    PENALTIES ARE DUE AT A RATE NOT LESS THAN $25 PER QUARTER AND

03:47PM   13    PAYMENT SHALL BE THROUGH THE BUREAU OF PRISONS INMATE FINANCIAL

03:47PM   14    RESPONSIBILITY PROGRAM.

03:47PM   15         THE COURT FINDS THE DEFENDANT DOES NOT HAVE THE ABILITY TO

03:47PM   16    PAY A FINE AND ORDERS THAT THE FINE BE WAIVED.

03:47PM   17         MS. MITCHELL, DO YOU HAVE ANY REQUESTS IN TERMS OF

03:47PM   18    DESIGNATION OR --

03:47PM   19               MS. MITCHELL:    WE WOULD REQUEST CALIFORNIA, IF

03:47PM   20    POSSIBLE, A FACILITY IN CALIFORNIA, IF POSSIBLE.

03:47PM   21         FCI MENDOTA WOULD BE THE ONE THAT IS CLOSEST TO HIS FAMILY

03:47PM   22    HERE.

03:47PM   23               THE COURT:    AND DO YOU WANT THAT SPECIFIC ONE?

03:47PM   24               MS. MITCHELL:    YES, YOUR HONOR.

03:47PM   25               THE COURT:    ALL RIGHT.   I'LL MAKE THAT



                                    UNITED STATES COURT REPORTERS
               Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 38 of 39
                                                                                     38


03:47PM    1    RECOMMENDATION AND IF NOT THAT FACILITY, A CALIFORNIA FACILITY.

03:48PM    2         AND, AGAIN, TO THE EXTENT THAT THERE IS ANY PROGRAMS,

03:48PM    3    CERTAINLY ONES AT THE SUPERVISED RELEASE PHASE, I ENCOURAGE THE

03:48PM    4    PROBATION OFFICER TO EXPLORE THAT AS YOU SET FORTH AS YOU

03:48PM    5    INDICATED YOU WOULD AND NOT JUST FOR MR. NATSHEH BUT IN

03:48PM    6    GENERAL.

03:48PM    7         MR. NATSHEH, YOU HAVE A RIGHT TO APPEAL.        YOUR SENTENCE

03:48PM    8    YOU ENTERED INTO IS WHAT IS CALLED AN OPEN PLEA AND SO YOU DO

03:48PM    9    HAVE A RIGHT TO APPEAL.

03:48PM   10         IN THE EVENT THAT YOU ELECT TO APPEAL, YOU WOULD NEED TO

03:48PM   11    DO THAT WITHIN 14 DAYS OF THE ENTRANCE OF THIS JUDGMENT.

03:48PM   12         DO YOU UNDERSTAND THAT?

03:48PM   13               THE DEFENDANT:   YES, SIR.

03:48PM   14               THE COURT:    OKAY.   ANYTHING FURTHER?

03:48PM   15               MS. BECKER:    NO, YOUR HONOR.

03:48PM   16               MS. MITCHELL:    NO, YOUR HONOR.

03:48PM   17               MS. BECKER:    THANK YOU.   THANK YOU.

03:49PM   18         (COURT CONCLUDED AT 3:49 P.M.)

          19

          20

          21

          22

          23

          24

          25



                                   UNITED STATES COURT REPORTERS
     Case 3:16-cr-00166-RS Document 26 Filed 07/24/17 Page 39 of 39


 1

 2

 3                         CERTIFICATE OF REPORTER

 4

 5

 6

 7          I, THE UNDERSIGNED OFFICIAL COURT REPORTER OF THE UNITED

 8    STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA,

 9    280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO HEREBY

10    CERTIFY:

11          THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12    A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13    ABOVE-ENTITLED MATTER.

14

15
                               ______________________________
16                             IRENE RODRIGUEZ, CSR, RMR, CRR
                               CERTIFICATE NUMBER 8074
17

18
                               DATED:   JULY 13, 2017
19

20

21

22

23

24

25



                         UNITED STATES COURT REPORTERS
